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                     Attorneys for Defendant Meta Platforms, Inc.
            16

            17                                       UNITED STATES DISTRICT COURT

            18                                      NORTHERN DISTRICT OF CALIFORNIA

            19                                          SAN FRANCISCO DIVISION

            20       NATALIE DELGADO, individually and on            Case No. 3:23-cv-04181-SI
                     behalf of all others similarly situated,
            21                                                       DEFENDANT META PLATFORMS,
                                       Plaintiff,                    INC.’S ANSWER TO CLASS ACTION
            22
                            v.                                       COMPLAINT
            23
                     META PLATFORMS, INC.,                           Judge Susan Illston
            24
                                       Defendant.
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                 1          Defendant Meta Platforms, Inc., by and through its attorneys, submits its Answer and

                 2   Affirmative Defenses in response to Plaintiff’s Complaint (ECF No. 1).

                 3          Except as expressly stated below, Meta denies each and every allegation contained in the

                 4   Complaint. Meta states that the headings and defined terms used throughout the Complaint do not

                 5   constitute well-pled allegations of fact, and that they therefore require no response. To the extent any

                 6   response is required, Meta denies the allegations in the headings and defined terms in the Complaint.

                 7   Meta reserves the right to seek to amend and/or supplement this Answer as necessary.

                 8          1.      Meta admits that Plaintiff asserts claims under the Illinois Biometric Information

                 9   Privacy Act (“BIPA”), but denies that it engaged in any actionable conduct or that Plaintiff is entitled

            10       to any relief. Meta further responds that BIPA’s statutory language speaks for itself. The remaining

            11       allegations in this paragraph state legal conclusions to which no response is required.

            12              2.      Meta admits that it owns and operates the online service termed Facebook.

            13              3.      Meta admits that it owns and operates the online service and application termed

            14       Messenger, which includes several features and/or functionalities.

            15              4.      Meta admits that Plaintiff asserts claims based on alleged violations of BIPA, but denies

            16       that Meta has obtained or possessed any such information from Illinois Facebook or Messenger users

            17       or that it has engaged in any actionable conduct or that Plaintiff is entitled to any relief.

            18              5.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            19       allegations in Paragraph 5 to the extent they inaccurately quote from and/or mischaracterize the statute.

            20       The remaining allegations in this paragraph state legal conclusions to which no response is required.

            21              6.      Meta denies the allegations in Paragraph 6.

            22              7.      Meta responds that the patent and Meta’s privacy policies and other disclosures speak

            23       for themselves, and denies the allegations in Paragraph 7 to the extent they mischaracterize those

            24       materials. Meta denies all remaining allegations in Paragraph 7.

            25              8.      Meta denies the allegations in Paragraph 8, and avers that it obtains consent for all

            26       actions that require consent.

            27              9.      Meta responds that Meta’s United States Regional Privacy Notice as revised in January

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                 1   2023 speaks for itself, and denies the allegations in Paragraph 9 to the extent they incorrectly quote

                 2   from and/or mischaracterize the United States Regional Privacy Notice. Meta denies all remaining

                 3   allegations in Paragraph 9.

                 4          10.      Meta responds that the allegations in Paragraph 10 state a legal conclusion to which no

                 5   response is required. To the extent a response is required, Meta denies the allegations in Paragraph 10.

                 6          11.      Meta responds that the allegations in Paragraph 11 state a legal conclusion to which no

                 7   response is required. To the extent a response is required, Meta denies the allegations in Paragraph 11.

                 8          12.      Meta responds that its United States Regional Privacy Notice speaks for itself and denies

                 9   the allegations in Paragraph 12 to the extent they incorrectly quote from and/or mischaracterize the

            10       United States Regional Privacy Notice. Meta denies all remaining allegations in Paragraph 12.

            11              13.      Meta denies the allegations in Paragraph 13.

            12              14.      Meta responds that the allegations in Paragraph 14 relate solely to Plaintiff’s claim

            13       under BIPA § 15(c), which has been dismissed by the Court, and that accordingly no response is

            14       required. To the extent any response is required, Meta denies the allegations in Paragraph 14.

            15              15.      Meta responds that the allegations in Paragraph 15 relate solely to Plaintiff’s claim

            16       under BIPA § 15(c), which has been dismissed by the Court, and that accordingly no response is

            17       required. To the extent any response is required, Meta responds that its 2022 10-K speaks for itself

            18       and denies all remaining allegations in Paragraph 15.

            19              16.      Meta responds that the allegations in Paragraph 16 relate solely to Plaintiff’s claim

            20       under BIPA § 15(c), which has been dismissed by the Court, and that accordingly no response is

            21       required. To the extent any response is required, Meta responds that its 2022 10-K speaks for itself,

            22       and denies the allegations in Paragraph 16 to the extent they inaccurately quote from and/or

            23       mischaracterize the document.

            24              17.      Meta responds that the allegations in Paragraph 17 relate solely to Plaintiff’s claim

            25       under BIPA § 15(c), which has been dismissed by the Court, and that accordingly no response is

            26       required. To the extent any response is required, Meta admits that its 2022 10-K reported more than

            27       $113.6 billion in advertising revenues for the year ending December 31, 2022, out of total revenues of

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                 1   more than $116.6 billion. Meta otherwise responds that its 2022 10-K speaks for itself, and denies the

                 2   allegations in Paragraph 17 to the extent they inaccurately quote from and/or mischaracterize the

                 3   document.

                 4          18.      Meta responds that the allegations in Paragraph 18 relate solely to Plaintiff’s claim

                 5   under BIPA § 15(c), which has been dismissed by the Court, and that accordingly no response is

                 6   required. To the extent any response is required, Meta denies the allegations in Paragraph 18.

                 7          19.      Meta responds that the allegations in Paragraph 19 relate solely to Plaintiff’s claim

                 8   under BIPA §15(e), which has been dismissed by the Court, and that accordingly no response is

                 9   required. To the extent any response is required, Meta denies the allegations in Paragraph 19.

            10              20.      Meta responds that the allegations in Paragraph 20 relate solely to Plaintiff’s claim

            11       under BIPA § 15(e), which has been dismissed by the Court, and that accordingly no response is

            12       required. To the extent any response is required, Meta responds that its 2022 10-K speaks for itself,

            13       and denies the allegations in Paragraph 20 to the extent they inaccurately quote from and/or

            14       mischaracterize the document.

            15              21.      Meta responds that the allegations in Paragraph 21 relate solely to Plaintiff’s claim

            16       under BIPA § 15(e), which has been dismissed by the Court, and that accordingly no response is

            17       required. To the extent any response is required, Meta responds that its 2022 10-K speaks for itself,

            18       and denies the allegations in Paragraph 21 to the extent they inaccurately quote from and/or

            19       mischaracterize the document.

            20              22.      Meta responds that the allegations in Paragraph 22 relate solely to Plaintiff’s claim

            21       under BIPA § 15(e), which has been dismissed by the Court, and that accordingly no response is

            22       required. To the extent any response is required, Meta responds that its 2022 10-K speaks for itself,

            23       and denies the allegations in Paragraph 22 to the extent they inaccurately quote from and/or

            24       mischaracterize the document.

            25              23.      Meta responds that the allegations in Paragraph 23 relate solely to Plaintiff’s claim

            26       under BIPA § 15(e), which has been dismissed by the Court, and that accordingly no response is

            27       required. To the extent any response is required, Meta responds that its 2022 10-K speaks for itself,

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                 1   and denies the allegations in Paragraph 23 to the extent they inaccurately quote from and/or

                 2   mischaracterize the document.

                 3              24.      Meta admits that Plaintiff purports to assert claims on behalf of a class seeking the relief

                 4   described in Paragraph 24, but denies that Plaintiff or any other member of the putative class is entitled

                 5   to any relief. Meta further responds that certain of Plaintiff’s claims have been dismissed by the Court.

                 6              25.      Meta lacks knowledge or information sufficient to form a belief about the truth of the

                 7   allegations in Paragraph 25 and on that basis denies them.

                 8              26.      Meta admits the allegations in the first sentence of Paragraph 26. Meta responds that

                 9   the allegations in the second sentence of Paragraph 26 state a legal conclusion to which no response is

            10       required.

            11                  27.      Meta responds that the allegations in Paragraph 27 state a legal conclusion to which no

            12       response is required.

            13                  28.      Meta admits that its headquarters and principal executive offices are located in

            14       California. The remaining allegations in Paragraph 28 state legal conclusions to which no response is

            15       required.

            16                  29.      Meta admits that its headquarters and principal executive offices are located in

            17       California. The remaining allegations in Paragraph 29 state legal conclusions to which no response is

            18       required.

            19                  30.      Meta admits that BIPA was enacted in 2008, but denies that Paragraph 30 accurately

            20       describes or reflects the totality of the statute.

            21                  31.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            22       allegations in Paragraph 31 to the extent they inaccurately paraphrase from and/or mischaracterize the

            23       statute.

            24                  32.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            25       allegations in Paragraph 32 to the extent they inaccurately quote from and/or mischaracterize the

            26       statute.

            27                  33.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

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                 1   allegations in Paragraph 33 to the extent they inaccurately quote from and/or mischaracterize the

                 2   statute.

                 3              34.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

                 4   allegations in Paragraph 34 to the extent they inaccurately quote from and/or mischaracterize the

                 5   statute.

                 6              35.      Meta responds that the cited Seventh Circuit decision speaks for itself, and denies the

                 7   allegations in Paragraph 35 to the extent they inaccurately quote from and/or mischaracterize that

                 8   decision.

                 9              36.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            10       allegations in Paragraph 36 to the extent they inaccurately quote from and/or mischaracterize the

            11       statute.

            12                  37.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            13       allegations in Paragraph 37 to the extent they inaccurately quote from and/or mischaracterize the

            14       statute.

            15                  38.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            16       allegations in Paragraph 38 to the extent they inaccurately quote from and/or mischaracterize the

            17       statute.

            18                  39.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            19       allegations in Paragraph 39 to the extent they inaccurately quote from and/or mischaracterize the

            20       statute.

            21                  40.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

            22       allegations in Paragraph 40 to the extent they inaccurately quote from and/or mischaracterize the

            23       statute.

            24                  41.      Meta responds that the cited Supreme Court of Illinois decision speaks for itself, and

            25       denies the allegations in Paragraph 41 to the extent they inaccurately quote from and/or mischaracterize

            26       that decision.

            27                  42.      Meta responds that BIPA’s statutory language speaks for itself, and denies the

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                 1   allegations in Paragraph 42 to the extent they inaccurately quote from and/or mischaracterize the

                 2   statute.

                 3              43.      Meta denies the allegations in Paragraph 43.

                 4              44.      Meta denies the allegations in Paragraph 44.

                 5              45.      Meta responds that the FTC order referenced in Paragraph 45 speaks for itself, and

                 6   denies the allegations in Paragraph 45 to the extent they inaccurately quote from and/or mischaracterize

                 7   that document or the underlying FTC proceedings.

                 8              46.      Meta responds that the complaint referenced in Paragraph 46 speaks for itself, and

                 9   denies the allegations in Paragraph 46 to the extent they inaccurately quote from and/or mischaracterize

            10       that document or the underlying FTC proceedings.

            11                  47.      Meta responds that the orders referenced in Paragraph 47 (inclusive of footnote 7) speak

            12       for themselves, and denies the allegations in Paragraph 47 to the extent they inaccurately quote from

            13       and/or mischaracterize those documents or the underlying FTC proceedings.

            14                  48.      Meta responds that the FTC order referenced in Paragraph 48 speaks for itself, and

            15       denies the allegations in Paragraph 48 to the extent they mischaracterize that document or the

            16       underlying FTC proceedings.

            17                  49.      Meta admits that it was named as a defendant in the litigation referenced in Paragraph

            18       49, and otherwise responds that the documents and filings in that litigation speak for themselves.

            19                  50.      Meta admits that it was named as a defendant in the litigation referenced in Paragraph

            20       50, and otherwise responds that the documents and filings in that litigation speak for themselves.

            21                  51.      Meta admits that it was named as a defendant in the actions referenced in Paragraph 51,

            22       but otherwise denies the allegations in Paragraph 51.

            23                  52.      Meta admits the allegations in Paragraph 52. Meta denies that the filing of a patent

            24       application provides any basis for Plaintiff’s claims in this action.

            25                  53.      Meta responds that the patent application referenced in Paragraphs 52 and 53 speaks for

            26       itself, and denies the allegations in Paragraph 53 to the extent they inaccurately quote from and/or

            27       mischaracterize the patent application. Meta denies that the filing of a patent application provides any

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                 1   basis for Plaintiff’s claims in this action.

                 2           54.      Meta admits the allegations in Paragraph 54. Meta denies that the patent provides any

                 3   basis for Plaintiff’s claims in this action.

                 4           55.      Meta responds that the patent referenced in Paragraph 55 speaks for itself, and denies

                 5   the allegations in Paragraph 55 to the extent they mischaracterize the patent. Meta otherwise denies

                 6   the allegations in Paragraph 55. Meta denies that the patent provides any basis for Plaintiff’s claims in

                 7   this action.

                 8           56.      Meta responds that the patent referenced in Paragraph 56 speaks for itself, and denies

                 9   the allegations in Paragraph 56 to the extent they inaccurately quote from and/or mischaracterize the

            10       patent. Meta otherwise denies the allegations in Paragraph 56. Meta denies that the patent provides

            11       any basis for Plaintiff’s claims in this action.

            12               57.      Meta responds that the patent referenced in Paragraph 57 speaks for itself, and denies

            13       the allegations in Paragraph 57 to the extent they mischaracterize the patent. Meta otherwise denies

            14       the allegations in Paragraph 57. Meta denies that the patent provides any basis for Plaintiff’s claims in

            15       this action.

            16               58.      Meta responds that the patent referenced in Paragraph 58 speaks for itself, and denies

            17       the allegations in Paragraph 58 to the extent they mischaracterize the patent. Meta denies that the

            18       patent provides any basis for Plaintiff’s claims in this action.

            19               59.      Meta responds that the patent referenced in Paragraph 59 speaks for itself, and denies

            20       the allegations in Paragraph 59 to the extent they incorrectly quote from and/or mischaracterize the

            21       patent. Meta denies that the patent provides any basis for Plaintiff’s claims in this action.

            22               60.      Meta responds that the patent referenced in Paragraph 60 speaks for itself, and denies

            23       the allegations in Paragraph 60 to the extent they incorrectly quote from and/or mischaracterize the

            24       patent. Meta otherwise denies the allegations in Paragraph 60. Meta denies that the patent provides

            25       any basis for Plaintiff’s claims in this action.

            26               61.      Meta responds that the patent referenced in Paragraph 61 speaks for itself, and denies

            27       the allegations in Paragraph 61 to the extent they incorrectly quote from and/or mischaracterize the

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                 1   patent. Meta otherwise denies the allegations in Paragraph 61. Meta denies that the patent provides

                 2   any basis for Plaintiff’s claims in this action.

                 3           62.      Meta responds that the patent referenced in Paragraph 62 speaks for itself, and denies

                 4   the allegations in Paragraph 62 to the extent they incorrectly quote from and/or mischaracterize the

                 5   patent. Meta otherwise denies the allegations in Paragraph 62. Meta denies that the patent provides

                 6   any basis for Plaintiff’s claims in this action.

                 7           63.      Meta responds that the patent referenced in Paragraph 63 speaks for itself, and denies

                 8   the allegations in Paragraph 63 to the extent they incorrectly quote from and/or mischaracterize the

                 9   patent. Meta otherwise denies the allegations in Paragraph 63, and denies that the patent provides any

            10       basis for Plaintiff’s claims in this action.

            11               64.      Meta responds that the patent referenced in Paragraph 64 speaks for itself, and denies

            12       the allegations in Paragraph 64 to the extent they incorrectly quote from and/or mischaracterize the

            13       patent. Meta otherwise denies the allegations in Paragraph 64, and denies that the patent provides any

            14       basis for Plaintiff’s claims in this action.

            15               65.      Meta responds that the patent referenced in Paragraph 65 speaks for itself, and denies

            16       the allegations in Paragraph 65 to the extent they incorrectly quote from and/or mischaracterize the

            17       patent. Meta denies that the patent provides any basis for Plaintiff’s claims in this action.

            18               66.      Meta responds that the patent referenced in Paragraph 66 speaks for itself, and denies

            19       the allegations in Paragraph 66 to the extent they incorrectly quote from and/or mischaracterize the

            20       patent. Meta denies that the patent provides any basis for Plaintiff’s claims in this action.

            21               67.      Meta admits the allegations in Paragraph 67. Meta denies that the filing of a patent

            22       application provides any basis for Plaintiff’s claims in this action.

            23               68.      Meta admits the allegations in Paragraph 68. Meta denies that the patent provides any

            24       basis for Plaintiff’s claims in this action.

            25               69.      Meta responds that the patent referenced in Paragraph 69 speaks for itself, and denies

            26       the allegations in Paragraph 69 to the extent they mischaracterize the patent. Meta otherwise denies

            27       the allegations in Paragraph 69. Meta denies that the patent provides any basis for Plaintiff’s claims in

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                 1   this action.

                 2           70.      Meta admits the allegations in Paragraph 70. Meta denies that the filing of a patent

                 3   application provides any basis for Plaintiff’s claims in this action.

                 4           71.      Meta admits the allegations in Paragraph 71. Meta denies that the patent provides any

                 5   basis for Plaintiff’s claims in this action.

                 6           72.      Meta responds that the patent referenced in Paragraph 72 speaks for itself, and denies

                 7   the allegations in Paragraph 72 to the extent they incorrectly quote from and/or mischaracterize the

                 8   patent. Meta otherwise denies the allegations in Paragraph 72, and denies that the patent provides any

                 9   basis for Plaintiff’s claims in this action.

            10               73.      Meta admits the allegations in Paragraph 73. Meta denies that the filing of a patent

            11       application provides any basis for Plaintiff’s claims in this action.

            12               74.      Meta responds that the patent application referenced in Paragraph 74 speaks for itself,

            13       and denies the allegations in Paragraph 74 to the extent they incorrectly quote from and/or

            14       mischaracterize the patent application. Meta otherwise denies the allegations in Paragraph 74, and

            15       denies that the filing of a patent application provides any basis for Plaintiff’s claims in this action.

            16               75.      Meta admits that it receives audio input from Facebook and Messenger users that may

            17       contain users’ voices through video posting to Facebook, transmission of audio and/or video clips as

            18       message attachments via Messenger, and audio and video calling.               Meta otherwise denies the

            19       allegations in Paragraph 75.

            20               76.      Meta admits that it may receive audio input from users when Facebook or Messenger

            21       users utilize the features referenced in Meta’s response to Paragraph 75. Meta otherwise denies the

            22       allegations in Paragraph 76.

            23               77.      Meta denies that it receives audio input that it knows or determines to be from Facebook

            24       or Messenger users through third party sources.

            25               78.      Meta admits that the audio input it receives from a Facebook or Messenger user includes

            26       whatever that user records (or, in the event of live calling, whatever the user captures during

            27       transmission), including but not limited to human voices, animal sounds, music, and background noise

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                 1   such as sirens. Meta denies that the audio input it receives from Facebook or Messenger users

                 2   necessarily contains recordings of voices, whether from users or any other persons.

                 3          79.      Meta admits that Facebook and Messenger users cannot use the full range of voice-

                 4   related features on Facebook or Messenger unless they enable the technological permissions required

                 5   for Meta to receive the necessary audio input, including (in some cases) by allowing the Facebook or

                 6   Messenger application to access the microphone on a user’s device. Meta responds that the pop-up

                 7   message referenced in Paragraph 79 speaks for itself, and denies the allegations in Paragraph 79 to the

                 8   extent they mischaracterize that message. Meta denies that it offers a voice searching feature to U.S.

                 9   users on Facebook or Messenger.

            10              80.      Meta responds that the pop-up message referenced in Paragraph 80 speaks for itself, and

            11       denies the allegations in Paragraph 80 to the extent they mischaracterize that message.

            12              81.      Meta denies the allegations in Paragraph 81.

            13              82.      Meta denies the allegations in Paragraph 82.

            14              83.      Meta admits that it receives audio input from Facebook and Messenger users, which

            15       may or may not include recordings of one or more speakers’ voices. Meta otherwise denies the

            16       allegations in Paragraph 83.

            17              84.      Meta denies the allegations in Paragraph 84.

            18              85.      Meta denies the allegations in Paragraph 85.

            19              86.      Meta denies the allegations in Paragraph 86.

            20              87.      Meta denies the allegations in Paragraph 87.

            21              88.      Meta denies the allegations in Paragraph 88.

            22              89.      Meta denies the allegations in Paragraph 89.

            23              90.      Meta denies the allegations in Paragraph 90.

            24              91.      Meta denies the allegations in Paragraph 91.

            25              92.      Meta responds that the United States Regional Privacy Notice referenced in Paragraph

            26       92 speaks for itself, and denies the allegations in Paragraph 92 to the extent they incorrectly quote from

            27       and/or mischaracterize the United States Regional Privacy Notice.

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                 1           93.      Meta responds that the allegations in Paragraph 93 state a legal conclusion to which no

                 2   response is required. To the extent a response is required, Meta denies the allegations in Paragraph 93.

                 3           94.      Meta responds that the allegations in Paragraph 94 state a legal conclusion to which no

                 4   response is required. To the extent a response is required, Meta lacks knowledge or information

                 5   sufficient to form a belief as to the truth of the allegation in Paragraph 94, and on that basis denies

                 6   them.

                 7           95.      Meta responds that the allegations in Paragraph 95 state a legal conclusion to which no

                 8   response is required. To the extent a response is required, Meta lacks knowledge or information

                 9   sufficient to form a belief as to the truth of the allegation in Paragraph 95, and on that basis denies

            10       them.

            11               96.      Meta responds that the allegations in Paragraph 96 state a legal conclusion to which no

            12       response is required. To the extent a response is required, Meta denies that it violated BIPA.

            13               97.      Meta responds that the allegations in Paragraph 97 relate solely to Plaintiff’s claim

            14       under BIPA § 15(c), which has been dismissed by the Court, and that accordingly no response is

            15       required. To the extent any response is required, Meta denies the allegations in Paragraph 97.

            16               98.      Meta responds that the materials referenced in Paragraph 98 speak for themselves. Meta

            17       otherwise denies the allegations in Paragraph 98, except admits that Meta attempts to provide Facebook

            18       and Messenger users with clear and easy access to information about the data it collects, among other

            19       privacy-related topics.

            20               99.      Meta responds that the materials referenced in Paragraph 98 (incorporated by reference

            21       in Paragraph 99) speak for themselves. Meta otherwise states that the allegations in Paragraph 99 state

            22       a legal conclusion to which no response is required. To the extent a response is required, Meta denies

            23       the allegations in Paragraph 99.

            24               100.     Meta responds that the “Privacy Center” within Meta’s website speaks for itself, and

            25       denies the allegations in Paragraph 100 to the extent they mischaracterize the Privacy Center or the

            26       disclosures therein.

            27               101.     Meta responds that the “Privacy Center” within Meta’s website speaks for itself, and

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                 1   denies the allegations in Paragraph 101 to the extent they incorrectly quote from and/or mischaracterize

                 2   the Privacy Center or the disclosures therein.

                 3          102.     Meta responds that the webpage referenced in Paragraph 102 speaks for itself, and

                 4   denies the allegations in Paragraph 102 to the extent they incorrectly quote from and/or mischaracterize

                 5   that webpage.

                 6          103.     Meta responds that the webpage referenced in Paragraph 103 speaks for itself, and

                 7   denies the allegations in Paragraph 103 to the extent they incorrectly quote from and/or mischaracterize

                 8   that webpage.

                 9          104.     Meta responds that the webpage referenced in Paragraph 104 speaks for itself, and

            10       denies the allegations in Paragraph 104 to the extent they mischaracterize that webpage. To the extent

            11       Paragraph 104 refers to and incorporates by reference the allegations in Section V.B (Paragraphs 111-

            12       115) of the Complaint, Meta refers to and incorporates by reference its responses to Paragraphs 111-

            13       115.

            14              105.     Meta responds that the webpage referenced in Paragraph 105 speaks for itself, and

            15       denies the allegations in Paragraph 105 to the extent they incorrectly quote from and/or mischaracterize

            16       that webpage.

            17              106.     Meta responds that the webpage referenced in Paragraph 106 speaks for itself, and

            18       denies the allegations in Paragraph 106 to the extent they incorrectly quote from and/or mischaracterize

            19       that webpage.

            20              107.     Meta responds that the webpage referenced in Paragraph 107 speaks for itself, and

            21       denies the allegations in Paragraph 107 to the extent they incorrectly quote from and/or mischaracterize

            22       that webpage.

            23              108.     Meta responds that the webpage referenced in Paragraph 108 speaks for itself, and

            24       denies the allegations in Paragraph 108 to the extent they incorrectly quote from and/or mischaracterize

            25       that webpage.

            26              109.     Meta responds that the webpage referenced in Paragraph 109 speaks for itself, and

            27       denies the allegations in Paragraph 109 to the extent they incorrectly quote from and/or mischaracterize

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                 1   that webpage.

                 2          110.     Meta responds that the Privacy Center on its website speaks for itself. Meta denies the

                 3   allegations in Paragraph 110 to the extent they incorrectly quote from and/or mischaracterize that

                 4   webpage, but admits that the user-generated content discussed in the Privacy Center does not amount

                 5   to “voiceprints or biometric information.”

                 6          111.     Meta responds that its website speaks for itself.      Meta denies the allegations in

                 7   Paragraph 111 to the extent they incorrectly quote from and/or mischaracterize its website, but admits

                 8   that user-generated content does not amount to “voiceprints or biometric information.”

                 9          112.     Meta responds that its website speaks for itself.      Meta denies the allegations in

            10       Paragraph 112 to the extent they incorrectly quote from and/or mischaracterize its website, and

            11       expressly denies the implication that Meta shows the user only “what information Meta is willing to

            12       provide the user.”

            13              113.     Meta responds that its website speaks for itself, and denies the allegations in Paragraph

            14       113 to the extent they incorrectly quote from and/or mischaracterize the website.

            15              114.     Meta responds that its website speaks for itself, and denies the allegations in Paragraph

            16       114 to the extent they incorrectly quote from and/or mischaracterize the website.

            17              115.     Meta responds that its website speaks for itself, and denies the allegations in Paragraph

            18       115 to the extent they mischaracterize the website.

            19              116.     Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            20       Paragraph 116 to the extent they mischaracterize the Privacy Policy.

            21              117.     Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            22       Paragraph 117 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            23              118.     Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            24       Paragraph 118 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            25              119.     Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            26       Paragraph 119 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            27              120.     Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

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                 1   Paragraph 120 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

                 2             121.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

                 3   Paragraph 121 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

                 4             122.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

                 5   Paragraph 122 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

                 6             123.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

                 7   Paragraph 123 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

                 8             124.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

                 9   Paragraph 124 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            10                 125.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            11       Paragraph 125 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            12                 126.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            13       Paragraph 126 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            14                 127.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            15       Paragraph 127 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            16                 128.   Meta responds that its Privacy Policy speaks for itself, and denies the allegations in

            17       Paragraph 128 to the extent they incorrectly quote from and/or mischaracterize the Privacy Policy.

            18                 129.   Meta responds that its United States Regional Privacy Notice speaks for itself, and

            19       denies the allegations in Paragraph 129 to the extent they incorrectly quote from and/or mischaracterize

            20       that notice.

            21                 130.   Meta responds that its California Privacy Notice speaks for itself, and denies the

            22       allegations in Paragraph 130 to the extent they incorrectly quote from and/or mischaracterize that

            23       notice.

            24                 131.   Meta responds that its Privacy Policy (including the linked materials referenced in

            25       Paragraph 131) speaks for itself, and denies the allegations in Paragraph 131 to the extent they

            26       incorrectly quote from and/or mischaracterize those materials.

            27                 132.   Meta admits that the United States Regional Privacy Notice referenced in Paragraph

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                 1   132 (and linked in footnote 42) became effective on July 1, 2023. Meta otherwise responds that the

                 2   respective versions of the notice speak for themselves, and denies the allegations in Paragraph 132 to

                 3   the extent they incorrectly quote from and/or mischaracterize those materials.

                 4          133.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

                 5   denies the allegations in Paragraph 133 to the extent they incorrectly quote from and/or mischaracterize

                 6   the notice.

                 7          134.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

                 8   denies the allegations in Paragraph 134 to the extent they incorrectly quote from and/or mischaracterize

                 9   the notice.

            10              135.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            11       denies the allegations in Paragraph 135 to the extent they incorrectly quote from and/or mischaracterize

            12       the notice.

            13              136.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            14       denies the allegations in Paragraph 136 to the extent they incorrectly quote from and/or mischaracterize

            15       the notice.

            16              137.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            17       denies the allegations in Paragraph 137 to the extent they incorrectly quote from and/or mischaracterize

            18       the notice.

            19              138.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            20       denies the allegations in Paragraph 138 to the extent they incorrectly quote from and/or mischaracterize

            21       the notice.

            22              139.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            23       denies the allegations in Paragraph 139 to the extent they incorrectly quote from and/or mischaracterize

            24       the notice.

            25              140.      Meta responds that the communications referenced in the Complaint speak for

            26       themselves, and deny the allegations in Paragraph 140 to the extent they mischaracterize those

            27       communications.

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                 1          141.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

                 2   denies the allegations in Paragraph 141 to the extent they incorrectly quote from and/or mischaracterize

                 3   the notice.

                 4          142.      Meta responds that its various privacy policies and disclosures speak for themselves,

                 5   and denies the allegations in Paragraph 142 to the extent they mischaracterize those privacy policies

                 6   and disclosures. Meta otherwise denies the allegations in Paragraph 142.

                 7          143.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

                 8   denies the allegations in Paragraph 143 to the extent they incorrectly quote from and/or mischaracterize

                 9   the notice.

            10              144.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            11       denies the allegations in Paragraph 144 to the extent they mischaracterize the notice. Meta otherwise

            12       denies the allegations in Paragraph 144.

            13              145.      Meta responds that its United States Regional Privacy Notice speaks for itself, and

            14       otherwise denies the allegations in Paragraph 145.

            15              146.      Meta responds that the allegations in Paragraph 146 state a legal conclusion to which

            16       no response is required. To the extent a response is required, Meta admits that BIPA requires regulated

            17       actors to make disclosures and obtain consent before collecting data that is subject to BIPA. Meta

            18       denies that there are no circumstances under which an Illinois resident who does not wish to consent

            19       to collection and use of biometric data might have to take action of some kind.

            20              147.      Meta denies the allegations in Paragraph 147.

            21              148.      Meta admits that Plaintiff has a Facebook account and has utilized Meta’s Messenger

            22       services.

            23              149.      Meta lacks knowledge or information sufficient to form a belief about the truth of the

            24       allegations in Paragraph 149 and on that basis denies them.

            25              150.      Meta lacks knowledge or information sufficient to form a belief about the truth of the

            26       allegations in Paragraph 150 and on that basis denies them.

            27              151.      Meta denies the allegations in Paragraph 151.

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                 1          152.     Meta denies the allegations in Paragraph 152.

                 2          153.     Meta admits that Plaintiff purports to bring this action on behalf of the class defined in

                 3   Paragraph 153. Meta denies that this action may properly be maintained as a class action, that the

                 4   definition is appropriate, or that it otherwise meets the requirements of Federal Rule of Civil Procedure

                 5   23. Meta otherwise denies the allegations in Paragraph 153.

                 6          154.     Meta admits that Paragraph 154 purports to set forth a list of exclusions from the

                 7   proposed class definition. Meta denies that this action may properly be maintained as a class action,

                 8   that the definition is appropriate, or that it otherwise meets the requirements of Federal Rule of Civil

                 9   Procedure 23.

            10              155.     Meta denies the allegations in Paragraph 155.

            11              156.     Meta admits that Plaintiff purports to reserve the right described in Paragraph 156. Meta

            12       denies that this action may properly be maintained as a class action, that the definition is appropriate

            13       or could be redefined in a way that is appropriate, or that any amended or modified class definition

            14       could satisfy the requirements of Federal Rule of Civil Procedure 23.

            15              157.     Meta admits that Plaintiff purports to describe a proposed class with a Class Period that

            16       is the period within the statute of limitations for this action and extending until a Class is certified as

            17       described in Paragraph 157. Meta denies that this action may properly be maintained as a class action,

            18       that the definition is appropriate, or that the proposed class otherwise meets the requirements of Federal

            19       Rule of Civil Procedure 23.

            20              158.     Meta denies the allegations in Paragraph 158.

            21              159.     Meta denies that this action may be properly maintained as a class action or that it

            22       otherwise meets the requirements of Federal Rule of Civil Procedure 23. To the extent the allegations

            23       in Paragraph 159 state conclusions of law, no response is required, but if any response is required, Meta

            24       denies them. Meta otherwise denies the allegations in Paragraph 159.

            25              160.     Meta denies that this action may be properly maintained as a class action or that it

            26       otherwise meets the requirements of Federal Rule of Civil Procedure 23. To the extent the allegations

            27       in Paragraph 160 state conclusions of law, no response is required, but if any response is required, Meta

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                 1   denies them. Meta otherwise denies the allegations in Paragraph 160.

                 2          161.    Meta denies that this action may be properly maintained as a class action or that it

                 3   otherwise meets the requirements of Federal Rule of Civil Procedure 23. To the extent the allegations

                 4   in Paragraph 161 state conclusions of law, no response is required, but if any response is required, Meta

                 5   denies them. Meta otherwise denies the allegations in Paragraph 161.

                 6          162.    Meta denies that this action may be properly maintained as a class action or that it

                 7   otherwise meets the requirements of Federal Rule of Civil Procedure 23. To the extent the allegations

                 8   in Paragraph 162 state conclusions of law, no response is required, but if any response is required, Meta

                 9   denies them. Meta otherwise denies the allegations in Paragraph 162.

            10              163.    Meta denies that this action may be properly maintained as a class action or that it

            11       otherwise meets the requirements of Federal Rule of Civil Procedure 23. To the extent the allegations

            12       in Paragraph 163 state conclusions of law, no response is required, but if any response is required, Meta

            13       denies them. Meta otherwise denies the allegations in Paragraph 163.

            14              164.    Meta denies that this action may be properly maintained as a class action on particular

            15       issues or that it otherwise meets the requirements of Federal Rule of Civil Procedure 23(c)(4). To the

            16       extent the allegations in Paragraph 164 state conclusions of law, no response is required, but if any

            17       response is required, Meta denies them. Meta otherwise denies the allegations in Paragraph 164.

            18              165.    Meta incorporates by reference its responses and denials set forth above.

            19              166.    Meta responds that the allegations in Paragraph 166 state a legal conclusion to which

            20       no response is required, but if a response is required, Meta denies them.

            21              167.    Meta denies the allegations in Paragraph 167.

            22              168.    To the extent the allegations in Paragraph 168 state a legal conclusion, no response is

            23       required, but if a response is required, Meta denies them. Meta otherwise admits that it did not develop

            24       or publish a written policy setting forth a retention schedule and destruction guidelines for biometric

            25       information that Meta does not collect.

            26              169.    Meta responds that its privacy policy and related materials speak for themselves, and

            27       denies the allegations in Paragraph 169 to the extent they incorrectly quote from and/or mischaracterize

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                 1   those materials.

                 2          170.    Meta denies the allegations in Paragraph 170.

                 3          171.    Meta denies the allegations in Paragraph 171.

                 4          172.    Meta denies the allegations in Paragraph 172.

                 5          173.    Meta denies the allegations in Paragraph 173.

                 6          174.    Meta admits that Plaintiff seeks the damages and other remedies discussed in the

                 7   allegations in Paragraph 174, but denies that Plaintiff or other members of the putative class are entitled

                 8   to any of those damages and remedies.

                 9          175.    Meta incorporates by reference its responses and denials set forth above.

            10              176.    Meta denies the allegations in Paragraph 176.

            11              177.    Meta admits that it did not obtain a written release from Plaintiff or other members of

            12       the putative class about the collection, capturing, purchasing, receiving through trade, or obtaining of

            13       voiceprints or related biometric information that Meta does not collect, capture, purchase, receive

            14       through trade, or obtain. Meta further denies that Plaintiff or other members of the putative class did

            15       not execute a written release related to Meta’s collection, capturing, purchasing, receiving through

            16       trade, or otherwise obtaining all data that Plaintiff alleges constitutes a voiceprint of related biometric

            17       information.

            18              178.    To the extent the allegations in Paragraph 178 state a legal conclusion, no response is

            19       required, but if a response is required, Meta denies them. Meta otherwise admits that it did not inform

            20       Plaintiff or other members of the putative class about the collection of biometric information that Meta

            21       does not collect.

            22              179.    Meta denies the allegations in Paragraph 179.

            23              180.    Meta admits upon information and belief that BIPA went into effect in 2008, but denies

            24       the remaining allegations in Paragraph 180.

            25              181.    Meta denies the allegations in Paragraph 181.

            26              182.    Meta denies the allegations in Paragraph 182.

            27              183.    Meta admits that Plaintiff seeks the damages and other remedies discussed in the

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                 1   allegations in Paragraph 183, but denies that Plaintiff or other members of the putative class are entitled

                 2   to any of those damages and remedies.

                 3          184.    Meta incorporates by reference its responses and denials set forth above.

                 4          185.    Meta responds that the allegations in Paragraph 185 are stated in support of Plaintiff’s

                 5   claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

                 6   required.

                 7          186.    Meta responds that the allegations in Paragraph 186 are stated in support of Plaintiff’s

                 8   claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

                 9   required.

            10              187.    Meta responds that the allegations in Paragraph 187 are stated in support of Plaintiff’s

            11       claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

            12       required.

            13              188.    Meta responds that the allegations in Paragraph 188 are stated in support of Plaintiff’s

            14       claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

            15       required.

            16              189.    Meta responds that the allegations in Paragraph 189 are stated in support of Plaintiff’s

            17       claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

            18       required.

            19              190.    Meta responds that the allegations in Paragraph 190 are stated in support of Plaintiff’s

            20       claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

            21       required.

            22              191.    Meta responds that the allegations in Paragraph 191 are stated in support of Plaintiff’s

            23       claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

            24       required.

            25              192.    Meta responds that the allegations in Paragraph 192 are stated in support of Plaintiff’s

            26       claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

            27       required.

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                 1          193.    Meta responds that the allegations in Paragraph 193 are stated in support of Plaintiff’s

                 2   claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

                 3   required.

                 4          194.    Meta responds that the allegations in Paragraph 194 are stated in support of Plaintiff’s

                 5   claim under BIPA § 15(c), which has been dismissed by the Court and to which no response is thus

                 6   required.

                 7          195.    Meta incorporates by reference its responses and denials set forth above.

                 8          196.    Meta responds that the allegations in Paragraph 196 are stated in support of Plaintiff’s

                 9   claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

            10       required.

            11              197.    Meta responds that the allegations in Paragraph 197 are stated in support of Plaintiff’s

            12       claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

            13       required.

            14              198.    Meta responds that the allegations in Paragraph 198 are stated in support of Plaintiff’s

            15       claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

            16       required.

            17              199.    Meta responds that the allegations in Paragraph 199 are stated in support of Plaintiff’s

            18       claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

            19       required.

            20              200.    Meta responds that the allegations in Paragraph 200 are stated in support of Plaintiff’s

            21       claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

            22       required.

            23              201.    Meta responds that the allegations in Paragraph 201 are stated in support of Plaintiff’s

            24       claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

            25       required.

            26              202.    Meta responds that the allegations in Paragraph 202 are stated in support of Plaintiff’s

            27       claim under BIPA § 15(e), which has been dismissed by the Court and to which no response is thus

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                 1   required.

                 2                                RESPONSE TO PRAYER FOR RELIEF

                 3          Meta denies that it has engaged in the wrongdoing alleged in the Complaint, denies that it has
                 4   violated BIPA, denies that this case is suitable for class treatment, denies that Plaintiff is similarly
                 5   situated to other unnamed individuals, and denies that Plaintiff or any member of the putative class is
                 6   entitled to any relief. Meta denies any remaining allegations in the Prayer for Relief.
                 7                                    RESPONSE TO JURY DEMAND
                 8          Meta admits that Plaintiff requests a trial by jury on all claims that can be so tried.

                 9                                AFFIRMATIVE OR OTHER DEFENSES

            10              Without assuming any burden of proof not otherwise legally assigned to it, Meta asserts the

            11       following separate and additional defenses to the Complaint brought against it:

            12                                       FIRST AFFIRMATIVE DEFENSE

            13                                             (Failure to State a Claim)

            14              The Complaint, and each purported cause of action asserted therein, fail to state a claim upon

            15       which relief can be granted. Among other deficiencies in the Complaint, the conduct that Meta

            16       undertakes with respect to audio data from members of the putative Class is not regulated or prohibited

            17       by BIPA.

            18                                      SECOND AFFIRMATIVE DEFENSE

            19                                                 (Lack of Standing)

            20              Plaintiff lacks standing to seek the relief demanded because, for example, Plaintiff has not

            21       suffered a sufficient injury in fact from the conduct alleged in the Complaint.

            22                                       THIRD AFFIRMATIVE DEFENSE

            23                                                       (Laches)

            24              Plaintiff’s claims are barred in whole or in part by estoppel, laches, unclean hands, or other

            25       equitable defenses. Plaintiff’s allegations could be construed to imply that Meta’s mere receipt of audio

            26       input that may contain voice recordings from Illinois users constitutes voiceprinting. Upon information

            27       and belief, including based on Plaintiff’s allegations, Plaintiff and/or members of the asserted putative

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                 1   class voluntarily operated their own devices and never objected to the conduct alleged in the Complaint

                 2   before the filing of this lawsuit.

                 3                                     FOURTH AFFIRMATIVE DEFENSE

                 4                                             (Failure to Mitigate)

                 5           Plaintiff and/or members of the asserted putative class failed to mitigate the alleged damages,

                 6   and to the extent of such failure to mitigate, any damages awarded to Plaintiff and/or members of the

                 7   asserted putative class should be reduced accordingly. Plaintiff’s allegations could be construed to

                 8   imply that Meta’s mere receipt of audio input that may contain voice recordings from Illinois users

                 9   constitutes voiceprinting. Upon information and belief, Meta alleges that, among other things, Plaintiff

            10       and members of the asserted putative class failed to mitigate any damages by continuing to use

            11       Facebook and/or Messenger, by continuing to use features and/or functions to submit audio input

            12       containing their voice recordings to or through Meta’s servers, and/or by taking or failing to take other

            13       conduct.

            14                                            FIFTH AFFIRMATIVE DEFENSE

            15                                                  (Unclean Hands)

            16               Plaintiff’s allegations could be construed to imply that Meta’s mere receipt of audio input that

            17       may contain voice recordings from Illinois users constitutes voiceprinting. Upon information and

            18       belief, Meta alleges that Plaintiff and members of the asserted putative class consented to and, in some

            19       cases, participated in Meta’s receipt of such audio input, which is the conduct of which they now

            20       complain. Upon information and belief, Meta alleges that the Complaint and each purported cause of

            21       action alleged therein are thus barred, in whole or in part, by the doctrine of unclean hands.

            22                                            SIXTH AFFIRMATIVE DEFENSE

            23                                                 (Lack of Causation)

            24               The Complaint and each purported cause of action alleged therein are barred to the extent that

            25       Meta’s conduct was not the actual or proximate cause of any loss suffered by Plaintiff and/or members

            26       of the asserted putative class.

            27

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                                                   SEVENTH AFFIRMATIVE DEFENSE
                 1
                                                                    (Waiver)
                 2
                            Plaintiff’s allegations could be construed to imply that Meta’s mere receipt of audio input that
                 3
                     may contain voice recordings from Illinois users constitutes voiceprinting. Upon information and
                 4
                     belief, Meta alleges that Plaintiff and members of the asserted putative class consented to and, in some
                 5
                     cases, participated in the conduct of which they now complain. Meta further alleges that the Complaint
                 6
                     and each purported cause of action alleged therein are thus barred, in whole or in part, by the doctrine
                 7
                     of waiver.
                 8
                                                    EIGHTH AFFIRMATIVE DEFENSE
                 9
                                                     (Intervening Acts and/or Omissions)
            10
                            Meta alleges that all or part of the damages alleged in the Complaint were caused by the acts
            11
                     and/or omissions of other persons or entities (including, without limitation, acts and/or omissions of
            12
                     Plaintiff and/or members of the asserted putative class and/or persons who acted on their behalf), for
            13
                     whose conduct Meta is not legally responsible, which intervened between the alleged acts and/or
            14
                     omissions of Meta and the alleged damages of Plaintiff and/or members of the asserted putative class.
            15
                     The alleged damages, if any, are therefore not recoverable from Meta. In the alternative, any damages
            16
                     which Plaintiff and/or members of the asserted putative class may be entitled to recover against Meta
            17
                     must be reduced to the extent that such damages are attributable to persons or entities other than Meta.
            18
                                                     NINTH AFFIRMATIVE DEFENSE
            19
                                                        (Comparative Fault or Offset)
            20
                            Meta alleges that all or part of the damages alleged in the Complaint were caused by the acts
            21
                     and/or omissions of other persons or entities (including, without limitation, acts and/or omissions of
            22
                     Plaintiff and/or members of the asserted putative class and/or persons who acted on their behalf), for
            23
                     whose conduct Meta is not legally responsible. Therefore, if Plaintiff and/or members of the asserted
            24
                     putative class are found to be entitled to recover any of the alleged damages, Meta’s share thereof must
            25
                     be apportioned or reduced to the extent that such damages are attributable to persons or entities other
            26
                     than Meta.
            27

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                                  DEFENDANT META PLATFORMS, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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                 1                                   TENTH AFFIRMATIVE DEFENSE

                 2                                          (Improper Class Action)

                 3          Plaintiff may not maintain this lawsuit as a class action because the purported claims of the

                 4   putative class representatives are not sufficiently typical of those of the purported class members,

                 5   common issues of fact and law do not predominate over individual issues, liability and damages cannot

                 6   be proven on a class-wide basis, the putative class representative will not adequately represent the

                 7   purported class, the putative class is not ascertainable, the proposed class action would not be

                 8   manageable, and a class action is not a superior method for adjudicating the purported claims set forth

                 9   in the Complaint.

            10                                    ELEVENTH AFFIRMATIVE DEFENSE

            11                                        (Impropriety of Injunctive Relief)

            12              Meta alleges as an affirmative defense that the putative class asserted in the Complaint is

            13       inappropriate for class certification because Meta has not acted or refused to act on grounds that apply

            14       generally to the class, and neither final injunctive relief nor corresponding declaratory relief is

            15       appropriate respecting the class as a whole. Meta also alleges that to the extent Plaintiff is seeking

            16       injunctive relief, such relief is barred because Plaintiff and/or members of the asserted putative class

            17       have not suffered irreparable harm and/or there is no real or immediate threat of injury.

            18                                     TWELFTH AFFIRMATIVE DEFENSE

            19                                                (Unconstitutionality)

            20              Meta alleges as an affirmative defense that any award of statutory damages would constitute an

            21       unconstitutional penalty on the facts of this case and would be grossly excessive given that Plaintiff

            22       and other members of the putative class suffered no actual injuries. The statutory damages Plaintiff

            23       seeks would violate the due process and equal protection guarantees, and other substantive and

            24       procedural safeguards afforded by the Fifth, Eighth, and Fourteenth Amendments to the U.S.

            25       Constitution, as well as multiple provisions of the Illinois Constitution. Meta also asserts that BIPA is

            26       unconstitutionally vague under the First and Fourteenth Amendments to the U.S. Constitution and

            27       comparable provisions of the Illinois Constitution.

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                 1                              THIRTEENTH AFFIRMATIVE DEFENSE

                 2                                            (Commerce Clause)

                 3          Meta alleges as an affirmative defense that BIPA is unconstitutional as Plaintiff seeks to have

                 4   it applied in this case to the extent its application would violate the dormant Commerce Clause.

                 5                              FOURTEENTH AFFIRMATIVE DEFENSE

                 6                                            (Extraterritoriality)

                 7          Plaintiff’s claim fails because BIPA does not have extraterritorial effect, and Plaintiff cannot

                 8   demonstrate that the alleged BIPA violation took place primarily and substantially in Illinois.

                 9                               FIFTEENTH AFFIRMATIVE DEFENSE

            10                                                   (Good Faith)

            11              Plaintiff’s claims are barred in whole or in part by Meta’s good faith and its absence of

            12       negligent, reckless, or intentional conduct. To the extent that BIPA applies to any conduct that Meta

            13       actually undertook, Meta is not liable because it relied in good faith upon a reasonable interpretation

            14       of BIPA’s statutory language, and because of Meta’s belief that it was not capturing, collecting,

            15       retaining, disseminating, or otherwise using consumers’ biometrics.

            16                                   SIXTEENTH AFFIRMATIVE DEFENSE

            17                                           (No Biometric Information)

            18              Plaintiff’s claims are barred because any information collected from Plaintiff and the putative

            19       class does not constitute “biometric information” or “biometric identifiers” under BIPA.

            20

            21

            22
                      DATED: March 29, 2024                                Respectfully submitted,
            23
                                                                           GIBSON, DUNN & CRUTCHER LLP
            24

            25                                                             By: /s/ Christopher Chorba
            26                                                                 Christopher Chorba

            27                                                             Attorneys for Meta Platforms, Inc.

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